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                EXHIBIT C
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ARBITRATION
AND
MEDIATION CENTER




ADMINISTRATIVE PANEL DECISION
Ritzio Purchase Limited v. WhoisGuard Protected, WhoisGuard, Inc. / Alex
Boolop / Davy Kiba-Gaste, Camelot / Zhoselin-Patrick Mandzela, ZP
Mandzela
Case No. D2016-1981



1. The Parties

The Complainant is Ritzio Purchase Limited of Nicosia, Cyprus, represented by Mapa Trademarks SL,
Spain.

The Respondents are WhoisGuard Protected, WhoisGuard, Inc. of Panama, Panama / Alex Boolop of Kiev,
Ukraine / Davy Kiba-Gaste, Camelot of Victoria, Seychelles / Zhoselin-Patrick Mandzela, ZP Mandzela of
Vernon, France. The Respondents Davy Kiba-Gaste, Camelot and Zhoselin-Patrick Mandzela, ZP Mandzela
are represented by Boston Law Group, PC, United States of America.


2. The Domain Names and Registrars

The disputed domain names <online-volcano.com>, <volcanozal.com>, <volcan24.com>, <vulcan-club-
online.com>, <vulcan-online-club.com>, <vulcano7.com>, <wulkancasino.com>, <1vulcano.com>,
<2vulcano.com>, <3vulcano.com>, <5vulcano.com> and <7vulcano.com> are registered with eNom, Inc.
The disputed domain name <vulcan-club-online.top> is registered with NameCheap, Inc. The registrars
eNom, Inc. and NameCheap, Inc. will hereinafter be referred to as the “Registrars”.


3. Procedural History

The Complaint was filed with the WIPO Arbitration and Mediation Center (the “Center”) on
September 29, 2016. On September 30, 2016, the Center transmitted by email to the Registrars a request
for registrar verification in connection with the disputed domain names. On October 3, 2016, the Registrars
transmitted by email to the Center their verification responses disclosing registrant and contact information
for the disputed domain names which differed from the named Respondent and contact information in the
Complaint. The Center sent an email communication to the Complainant on October 11, 2016 providing the
registrant and contact information disclosed by the Registrars, and inviting the Complainant to submit
an amendment to the Complaint. The Complainant filed an amended Complaint on October 16, 2016.
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The Center verified that the Complaint together with the amended Complaint satisfied the formal
requirements of the Uniform Domain Name Dispute Resolution Policy (the “Policy” or “UDRP”), the Rules for
Uniform Domain Name Dispute Resolution Policy (the “Rules”), and the WIPO Supplemental Rules for
Uniform Domain Name Dispute Resolution Policy (the “Supplemental Rules”).

In accordance with the Rules, paragraphs 2 and 4, the Center formally notified the Respondents of the
Complaint, and the proceedings commenced on October 21, 2016. In accordance with the Rules,
paragraph 5, the due date for Response was November 10, 2016. The Respondent filed a request for an
additional four calendar days to file the Response. In accordance with paragraph 5(b) of the Rules, the
Center granted the extension of time. The Response was filed with the Center on November 14, 2016.

The Center appointed Alistair Payne, Paul M. DeCicco and Robert A. Badgley as panelists in this matter on
December 1, 2016. The Panel finds that it was properly constituted. Each member of the Panel has
submitted the Statement of Acceptance and Declaration of Impartiality and Independence, as required by the
Center to ensure compliance with the Rules, paragraph 7.


4. Factual Background

The Complainant has since 1992 been in the business of providing gaming, casino and entertainment
products and services, including but not limited to the operation and management of gaming halls, the
design, development, provision and maintenance of games of chance, including betting bingo and slot
machines, the provision of interactive real-money games through a computer network, and other related
products and services under the Вулкан and Vulkan brands. It operates in the Russian Federation and in
certain European countries with more than 230 Вулкан and/or Vulkan branded gaming clubs and more than
6,300 gaming machines deployed throughout Europe. The Complainant owns in particular the VULKAN
mark registered in the Russian Federation under number 353692 on June 25, 2008 and the International
trade mark registration for VOLCANO under registration number 989103 on August 11, 2008, designating
inter alia the European Union (the “Vulcan marks”), quite apart from various other registrations around the
world.

Four of the disputed domain names were registered in 2013, two in 2014 and seven of them in 2016.


5. Parties’ Contentions

A. Complainant

The Complainant submits that even though the Respondents appear to be different according to the WhoIs
data, there is only one real respondent who controls all the disputed domain names for the reasons outlined
below:

(a) All websites that are located at the disputed domain names have absolutely identical design, graphics,
layout, text, the same set of games, and all other instruments;

(b) On the “Support-page” of all 13 websites at each of the disputed domain names the contact information
for each is exactly the same;

(c) There is one registrar for 12 out of 13 of the disputed domain names and combinations of them were
registered on the same day;

(d) The owner of all disputed domain names is hidden behind a privacy service;

(e) After the Center’s request for Registrar verification, the registrar disclosed names of domain name
owners who according to this information are: (a) One nickname with non-existing Ukrainian street address;
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(b) Seychelles legal entity which are commonly used to hold domain name holders hidden; and (c)
Zhoselin-Patrick Mandzela of Vernon, France has already been a respondent in Ritzio Purchase Limited v.
Whoisguard Protected, Whoisguard, Inc / Zhoselin-Patrick Mandzela, WIPO Case No. D2015-0295 with the
same website and same trade mark infringement.

The Complainant submits that since there are no other distinctive criteria applicable, all websites look the
same, work the same and are connected with each other by same network, it believes that there is only
person that controls each of the websites, such that common control is being exercised over the disputed
domain names or websites to which they resolve and hence the Complainant requests consolidation into one
proceeding.

The Complainant submits that it owns the Vulcan marks noted above and also a suite of marks incorporating
the word “vulcan” in Russian into combined word and logo marks. It says that each of the disputed domain
names is basically identical to the English translation of its marks that are registered internationally and
sound identical to various of its Vulcan marks. It says that the disputed domain name <wulkancasino.com>
has been created according to the same principle, namely that the Russian letter “b” sound like “v” in
English, although in the disputed domain name it is written as “w”. The reason for this is that since the
Russian language has no equivalent for the English sound “w”, it sounds like “v”. Thus, says the
Complainant, in Russian, the word “wulkan” is pronounced as “vulkan”. As such submits the Complainant,
the mark and the disputed domain names are virtually identical, which renders them confusingly similar.

In addition, says the Complainant, each of the disputed domain names wholly incorporates one of the
Complainant’s registered trade marks adding only the generic words “club”, “online”, “casino” and “zal” (word
“zal” is a transliteration of Russian word “зал” and it means “hall”) and mixing some of them with Arabic
numerals, that are considered irrelevant under the Policy and that do not affect the confusing similarity of
domain names and trade marks. The addition of the words “club”, “casino”, “online” and “zal” create extra
confusion says the Complainant, due to the direct association with the reputation of the Complainant’s
Vulcan marks and its operation and management of casinos and gaming halls, the design development,
provision and maintenance of games of chance, including betting bingo and slot machines, and the provision
of interactive real-money games through a computer network.

As a consequence and coupled with the very high level of similarity and near identity of the website at each
of the disputed domain names, the Complainant submits that each of the disputed domain names is
confusingly similar to one of its registered trade marks.

The Complainant submits that the Respondent is not a licensee of the Complainant and that it has not
authorised or consented to the Respondent’s use of any of the Vulcan marks or of the disputed domain
names and that the Respondent is not commonly known by and does not have any prior rights in any of the
disputed domain names and is not making a bona fide use of the disputed domain names or using them for
noncommercial purposes.

In summary the Complainant submits that the Respondent is using each of the disputed domain names to
resolve to a website that is almost identical to the Complainant’s websites and which even reproduces the
Complainant’s Вулкан (& design) trade mark. The Complainant submits that (1) the Respondent’s sites
copy the look-and-feel of Ritzio’s gaming clubs; (2) the Respondent provides online gaming services that
are competitive to those offered by the Complainant in connection with the Vulcan Marks; and (3) the
disputed domain names are aimed at attracting consumers’ interested in Ritzio’s products and services, (4)
the Complainant’ trademarks are used all over the websites and (5) references to the Vulcan brand created
and maintained by Complainant can be seen everywhere on Respondent’s websites. This all amounts, says
the Complainant, to the Respondent attempting to confuse Internet users into mistaking the disputed domain
names and the websites to which they resolve with the Complainant’s websites and business with a view to
trading off the goodwill attaching to the Complainant’s business for its own commercial purposes. This,
submits the Complainant, is not legitimate or bona fide conduct and as a result the Respondent has no rights
or legitimate interests in any of the disputed domain names for the purposes of the second element of the
Policy.
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The Complainant’s case in relation to bad faith is that the Respondent has used each of the disputed domain
names in terms of paragraph 4(b)(iv) of the Policy and as described above, to attract Internet users to its
websites intentionally and for its own commercial gain by creating a likelihood of confusion with the
Complainant’s Vulcan marks. It notes that the Respondent is operating a fully functional on-line casino at
each of the disputed domain names and that clearly the Respondent is using the disputed domain names to
divert Internet users to these websites for its own commercial purposes.

The Complainant notes that the Respondent even attempts to associate its websites at the disputed domain
names with the Complainant’s goodwill and business. It notes the Respondent’s use of the following text on
its website as translated from the Russian language:

      “Casino Volcano is undoubtedly the best brands in the gambling business. During the existence of the
      gaming club Volcano acquired a firm reputation as a reliable playground, loyal to the players and
      providing permanent access to the highest quality gaming slot. The famous brand has earned
      popularity during the time fixed gaming establishments, winning the hearts of millions of gamblers all
      over the world. After the volcano became available on the Internet, its range of offered entertainment
      has become much wider, which attracted a new audience. The official representative of the brand
      casino volcano on the worldwide web is the site vulcan-club-online.com. He has a license of the
      famous places the game, which is an excellent indicator of the quality of services and the guarantee of
      fair play”.

This says the Complainant is a blatant attempt to deceive Internet users into thinking that they are dealing
with an authorised licensee of the Complainant when this is not the case. The Complainant also notes that
trade mark rights notices are placed at the foot of each page of the Respondent’s websites in order to
reinforce the impression that the website are official.

Similarly the Complainant notes that the Respondent’s websites feature a special plug-in to enable Internet
users who may be blocked from reaching the Respondent’s websites to effect a work around solution. The
fact that Respondent has created a by-pass instrument to overcome Internet Service Providers’ or local
Regulators block for intellectual property infringements or other legal abuses says the Complainant, is
another argument to prove that the Respondent acts in bad faith.

Further the Complainant notes the Respondent’s use of a privacy service in relation to each of the disputed
domain names in a manner that suggests bad faith and also a prior case involving a near identical set of
circumstances. The Complainant submits that in this case the Respondent used websites that looked
absolutely identical to the websites at the disputed domain names and suggests that the same key person in
the background, namely Zhoselin-Patrick Mandzela, of Vernon, France, the respondent in Ritzio Purchase
Limited v. Whoisguard Protected, Whoisguard, Inc / Zhoselin-Patrick Mandzela, supra. It notes that the
design, graphics, layout, text, the same set of games, and all other instruments are absolutely identical to
those in that case. The Complainant believes that in the current case the disputed domain names are
owned/controlled or associated with the respondent in Ritzio Purchase Limited v. Whoisguard Protected,
Whoisguard, Inc. / Zhoselin-Patrick Mandzela, supra, who after losing the case had no other legitimate
options but to register new domain names and to use some of the previously registered domain names in
order to maintain its illegal business.

B. Respondent

Firstly, says the Respondent, the Complaint should be dismissed because Complainant has impermissibly
consolidated the UDRP proceeding against multiple respondents with multiple domain names and websites
not under common control. Specifically, the disputed domain name <vulcanclub-online.top> is not under
common control with any of the other domain names subject to these proceedings as currently drafted and
the consolidation is unfair to all Registrants. The disputed domain names <1vulcano.com>,
<2vulcano.com>, <3vulcano.com>, <5vulcano.com>, <7vulcano.com>, and <vulcano7.com> are all
registered to the Respondent Davy Kiba-Gaste. The Respondent Zhoselin-Patrick Mandzela registered the
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disputed domain names <wulkancasino.com>, <volcan24.com>, <vulcan-online-club.com>,
<volcanozal.com>, <onlinevolcano.com>, and <vulcan-club-online.com> for the benefit of Mr. Kiba-Gaste.
Mr. Kiba-Gaste does not know the registrant of <vulcan-club-online.top>, the so called “Alex Boolop”.
Mr. Kiba-Gaste did not register the disputed domain name <vulcan-club-online.top> nor did anyone register it
on his behalf. Mr. Kiba-Gaste, says the Respondent, does not control the disputed domain name
<vulcan-club-online.top> or the website at the disputed domain name. The disputed domain name
<Vulcan-club-online.top> is not even registered with the same registrar as the other domain names.

Consolidation of this case against these two separate groups results in an unfair and inequitable situation for
both sets of respondents because their defences may contradict each other and/or otherwise taint each
other’s positions.

The Respondent submits that this Complaint is not validly brought because (1) VULKAN is not a valid
trademark as used in connection with gambling in the Russian Federation, where gambling is essentially
illegal; (2) all the asserted country-level trademark registrations were issued in the Russian Federation prior
to the prohibition and those registrations are now invalid; (3) all of the Complainant’s international trade
mark registrations rely upon those invalid Russian registrations; (4) this is the incorrect forum to resolve this
dispute, as two prior UDRP decisions have held; and (5) the Complainant has used the UDRP process to
perpetrate a fraud upon the Center and registrants in prior cases noted and in this case.

Apart from challenging the validity of the Complainant’s Russian marks, the Respondent submits that more
than seven years after the Russian Federation banned Internet gambling, more than five years after
Complainant was legally prohibited from operating physical casinos in the Russian Federation, and more
than five years after Complainant thus ceased using its trade marks, the Respondents began registering the
disputed domain names. It says that the Respondents did so with the knowledge that trade mark rights no
longer could exist in the Russian Federation for any gambling related activities. After registering the
disputed domain names registered in his name, the Respondent Zhoselin-Patrick Mandzela transferred the
operation and control to the Respondent Davy Kiba-Gaste. The Respondent notes that most, if not all, of the
visitors of the websites at the disputed domain names come from the Russian Federation or Ukraine where
the Complainant can possess no rights in the putative trade marks.

As far as registration in bad faith is concerned, the Respondent says that the disputed domain names were
not registered in bad faith because the Respondent had a legitimate and non-infringing reason for registering
them in that the Complainant had not been operating in the Russian Federation or Ukraine under the
VULKAN trade mark for four years by the time the Respondent registered any of the disputed domain
names. Moreover, Complainant’s casino and online gambling operations in the Russian Federation had
been made illegal, and therefore could not have formed the basis for any legitimate trade mark rights.
Therefore, the Respondent had a good faith belief that it was not infringing any trade mark rights upon
registration of the disputed domain names.

The Respondent says that the websites located at the disputed domain names are not “copycat” websites
that compete with the Complainant, because the Complainant does not operate online gaming services,
either in the Russian Federation or Ukraine (where Mr. Kiba-Gaste’s websites are used), or elsewhere in the
world. Moreover, well before the filing of the Complaint, Mr. Kiba-Gaste had been operating his websites
openly and in full view and with the implicit consent of the Complainant for over three years. The
Complainant certainly knew, or should have known, about Mr. Kiba-Gaste’s operation of the disputed domain
names. Therefore, to the extent that the Complainant’s trade mark registrations are valid, the Complainant’s
actions constituted acquiescence to and implied consent for the Respondents’ activities. In addition the
Respondent submits that there are no other indicia of bad faith and that the use of a privacy service is of no
relevance.

The Respondent says that the issues raised in these proceedings, like those in the nearly identical EvoPlay
LLC v. Ziganshin, WIPO Case No. D2015-0222 and in EvoPlay LLP v. Haladjian, WIPO Case No.
D2015-0252, are outside the scope contemplated by the Policy and are instead properly decided by
traditional means. Therefore, submits the Respondent, the Complaint should be dismissed.
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The Respondent also submits that the Complainant’s actions in bringing these proceedings amounts to an
abuse of process. It says that the Complainant filed complaints in two previous UDRP actions with a
representation that it would agree to the jurisdiction of the Seychelles and English courts, respectively, if
respondents chose to challenge the decisions of the panels. The Complainant was required to submit to
these jurisdictions in order to file its complaints and was not entitled to a decision from the panels if it did not
submit. However, after the Complainant received the panels’ decisions in its favour, it completely ignored its
obligations to submit to the mutual jurisdiction. The Respondent submits that there is no question that if the
Complainant is successful in its Complaint here that it will continue to use the same fraudulent scheme to
deny the Respondents their rights under paragraph 4(k) of the Policy to have this dispute resolved by a court
of competent jurisdiction before their domain names are irretrievably stripped. It says that the Policy was
never intended to be the last stop for disputes between the parties and that on this basis the Complainant’s
requested relief should be denied and the Panel should declare in its decision that the Complaint was
brought in bad faith and constitutes an abuse of the administrative proceedings.

The Respondent further submits that the Complainant has not controlled and have acquiesced in the use by
other parties of its trade marks in previous years and in this case have operated the websites at the disputed
domain names for years in full view of the Complainant, which has taken no action until now. Having at the
very least impliedly consented to so many third parties using the marks for so many years in the same way,
the Complainant should not now be permitted to hijack the domain names of others to use for its own
purposes. Therefore, to the extent that the Complainant may possess any rights in the putative trademarks,
the Complainant’s inaction over the past five years constitutes acquiescence and implied consent to the
Respondents’ use of the marks.


6. Discussion and Findings

A. Consolidation

The principles that previous panels have applied to case consolidation against different respondents are set
out under paragraph 4.16 of the WIPO Overview of WIPO Panel Views on Selected UDRP Questions,
Second Edition. In general for a case to qualify for consolidation it must be equitable and procedurally
efficient to permit the consolidation; and in the case of complaints brought against more than one
respondent, (i) the domain names or the websites to which they resolve must be subject to common control,
and (ii) the consolidation must be fair and equitable to all parties.

The Complainant submits that consolidation is appropriate in this case because:

(a) All websites that are located at the disputed domain names have absolutely identical design, graphics,
layout, text, the same set of games, and all other instruments;

(b) On the “Support-page” of all 13 websites at each of the disputed domain names the contact information
for each is exactly the same;

(c) There is one registrar for 12 out of 13 of the disputed domain names and combinations of them were
registered on the same day;

(d) The owner of all disputed domain names is hidden behind privacy services;

(e) After the Center’s request for Registrar verification, the registrar disclosed names of domain name
owners who according to this information are: (a) one nickname with non-existing Ukrainian street address;
(b) Seychelles legal entity which are commonly used to hold domain name holders hidden; and (c)
Zhoselin-Patrick Mandzela of Vernon who has already been a respondent in a very similar case, same
UDRP case Ritzio Purchase Limited v. Whoisguard Protected, Whoisguard, Inc. / Zhoselin-Patrick Mandzela,
supra,with the same website and same trade mark infringement.
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(f) all websites look the same, work the same and are connected with each other by same network;

(g) it believes that there is only one person that controls each of the websites, such that common control is
being exercised over the disputed domain names or websites to which they resolve.

The Respondent does not appear to challenge this request other than in relation to the disputed domain
name <vulcan-club-online.top>. In this regard it is submitted on behalf of the Respondent that neither of the
registrants of the other disputed domain names in this case has any knowledge of the disputed domain
name <vulcan-club-online.top> or of its owner Alex Boolop and it would be unfair and inequitable to bring this
domain name into the present proceedings.

The Panel has considered the submissions made by both parties. In circumstances that the website at
disputed domain name <vulcan-club-online.top> appears to be exactly similar to those at the other disputed
domain names and includes equally with the other sites the statement:

      “Casino Volcano is undoubtedly the best brands in the gambling business. During the existence of the
      gaming club Volcano acquired a firm reputation as a reliable playground, loyal to the players and
      providing permanent access to the highest quality gaming slot. The famous brand has earned
      popularity during the time fixed gaming establishments, winning the hearts of millions of gamblers all
      over the world. After the volcano became available on the Internet; its range of offered entertainment
      has become much wider, which attracted a new audience. The official representative of the brand
      casino volcano on the worldwide web is the site vulcan-club-online.com. He has a license of the
      famous places the game, which is an excellent indicator of the quality of services and the guarantee of
      fair play”

and also the same trade marks rights notice and is registered through the same privacy service, the Panel
finds on the balance of probabilities that the disputed domain name <vulcan-club-online.top> is under
common control with the other disputed domain names and it is therefore appropriate to be consolidated with
the other disputed domain names into this Complaint.

B. Identical or Confusingly Similar

The Complainant has demonstrated that it owns registered trade mark rights in various jurisdictions in its
Вулкан1, Вулкан (& Design), Vulkan and Volcano trade marks including other Вулкан, Vulcan, Vulkan and
Volcano composite marks. In particular it owns word mark registrations for the VULKAN mark which was
registered in the Russian Federation under number 353692 on June 25, 2008 and the VOLCANO mark
registered in the European Union under registration number 989103 on August 11, 2008.

These trade mark registrations are current and prima facie valid on their respective registers. It is not for the
Panel to look behind the prima facie validity of these registrations as suggested by the Respondent. In any
event as far as registrations based on an International application are concerned the Panel notes that the
European Union registrations are in any event more than five years old and therefore not susceptible to
central attack.

Each of the disputed domain names contains the term “volcano” or “vulkan” or a term very closely derived
from it or which sounds identical or similar to it. The Panel finds that this element is the dominant and central
element in each of the disputed domain names and that the addition to each of the disputed domain names
of terms such as “zal”, “online”, “club” or “casino” or a series of numbers does not distinguish any of the
disputed domain names from the Complainant’s VOLCANO or VULKAN registered word marks or from any
term closely derived from them which may sound identical or similar in a language such as Russian or
German, such as “wulkan”.

As a consequence the Panel finds that each of the disputed domain names is confusingly similar to one or
other of the Complainant’s registered trade marks as set out above.
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C. Rights or Legitimate Interests

It is apparent that the Complainant has made a very substantial use of its Vulcan marks both in the Russian
Federation and in neighboring countries and in certain countries in Europe as a result of operating in the
Russian Federation and in certain European countries with more than 230 Вулкан and/or Vulkan branded
gaming clubs and more than 6,300 gaming machines deployed throughout Europe.

The Complainant has submitted that the Respondent is not a licensee of the Complainant and that it has not
authorised or consented to the Respondent’s use of any of the Vulcan marks or of the disputed domain
names and that the Respondent is not commonly known by and does not have any prior rights in any of the
disputed domain names and is not making a bona fide use of the disputed domain names or using them for
noncommercial purposes.

It appears to the Panel, based on the use of the Complainant’s trade marks in the disputed domain names
together with the extremely high degree of similarity between the websites at each of the disputed domain
names and the Complainant’s websites including the wholesale reproduction of the Complainant’s Вулкан (&
design) trade mark, that the Respondent is indeed, as suggested by the Complainant, using each of the
disputed domain names to confuse and subsequently divert Internet users to its own on-line casino websites.
This impression is only reinforced by the statement on one of the Respondent’s websites that obviously
refers back to the Complainant’s well reputed business:

      “Casino Volcano is undoubtedly the best brands in the gambling business. During the existence of the
      gaming club Volcano acquired a firm reputation as a reliable playground, loyal to the players and
      providing permanent access to the highest quality gaming slot. The famous brand has earned
      popularity during the time fixed gaming establishments, winning the hearts of millions of gamblers all
      over the world. After the volcano became available on the Internet, its range of offered entertainment
      has become much wider, which attracted a new audience. The official representative of the brand
      casino volcano on the worldwide web is the site vulcan-club-online.com. He has a license of the
      famous places the game, which is an excellent indicator of the quality of services and the guarantee of
      fair play”.

The Panel also notes the fact that trade mark rights notices are placed at the foot of each page of the
Respondent’s websites in order to reinforce falsely the impression that the websites are officially endorsed
by the Complainant or its businesses when clearly this is not the case.

The Respondent’s argument that its websites are not copycat sites because the Complainant does not
operate on-line gaming services in the Russian Federation or Ukraine does not get around the fact that the
Respondent is blatantly seeking to trade off the reputation and goodwill attaching to the Complainant’s name
and marks from its current operations in the Russian Federation and the Ukraine and in Europe. This is not
bona fide business activity, the Panel does not accept that the VULCAN or VOLCANO are so widely used in
relation to gaming and casinos that they could only be generic, and the Respondent has not demonstrated
that it has rights in these marks or the disputed domain names.

Accordingly the Panel finds that the Complainant has made out a prima facie case that the Respondent has
no rights or legitimate interests in each of the disputed domain names. This case has not been rebutted by
the Respondent and as a result the Complaint succeeds under the second element of the Policy.

D. Registered and Used in Bad Faith

The earliest date of registration of the disputed domain names is 2013. By that date the Complainant’s
business under the Vulcan marks had been established for many years in the Russian Federation and in
Europe since its commencement in 1992. Considering the number of disputed domain names registered by
the Respondents containing the VULCAN or VOLCANO marks or a close derivation of that mark as
described above, the high degree of similarity between the Respondent’s websites and also the reproduction
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of the Complainant’s combined word and design mark on the Respondent’s websites and the fact that both
businesses operate in the gaming industry, the Panel infers that the Respondent was well aware of the
Complainant’s business and of its use of the Vulcan marks when it registered each of the disputed domain
names. It is apparent that it did so for its own commercial purposes and therefore the Panel finds that the
Respondent registered each of the disputed domain names in bad faith.

Paragraph 4(b)(iv) of the Policy deems there to be evidence of registration and use in bad faith where a
respondent has intentionally used a domain name to attract, for commercial gain, Internet users to its
website or other on-line location, by creating a likelihood of confusion with the complainant’s mark as to the
source, sponsorship, affiliation, or endorsement of its website. In this case the Respondent has used each
of the disputed domain names to confuse Internet users into visiting its website. At its website and as further
described above, the Respondent has sought to confuse Internet users into thinking that its business is
associated with the Complainant when the Respondent is actually offering on-line casino services for its own
commercial gain from its websites.

The Panel does not accept the Respondent’s argument that it had a legitimate and non-infringing reason for
registering the disputed domain names because the Complainant had not been operating in the Russian
Federation or Ukraine under the VULKAN trade mark for four years by the time the Respondent registered
any of the disputed domain names, or that on-line gambling operations in the Russian Federation had been
made illegal, and therefore could not have formed the basis for any legitimate trade mark rights. The fact
remains that the Complainant has developed a very well established business under its Vulcan marks and
even if it had ceased operating in the Russian Federation four years ago (which the Panel does not accept
based on the Complainant’s evidence) the Respondent’s conduct would still in the particular blatant
circumstances of this case amount to bad faith under paragraph 4(b)(iv) of the Policy. Further, the
Respondent’s point concerning on-line gambling being made illegal and therefore could not in any event be
the basis of trade mark rights is irrelevant in circumstances that the Policy simply requires a registered trade
mark right.

It follows that the Panel finds that each of the disputed domain names have been both registered and used in
bad faith and that the Complaint succeeds under this element of the Policy.


7. Decision

For the foregoing reasons, in accordance with paragraphs 4(i) of the Policy and 15 of the Rules, the Panel
orders that the disputed domain names:

<online-volcano.com>
<volcanozal.com>
<volcan24.com>
<vulcan-club-online.com>
<vulcan-club-online.top>
<vulcan-online-club.com>
<vulcano7.com>
<wulkancasino.com>
<1vulcano.com>
<2vulcano.com>
<3vulcano.com>
<5vulcano.com>
<7vulcano.com>

be transferred to the Complainant.


Alistair Payne
Presiding Panelist
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Paul M. DeCicco
Panelist


Robert A. Badgley
Panelist
Date: December 15, 2016
